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8                                      UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
9                                            SAN JOSE DIVISION
10
     UNITED STATES OF AMERICA,                                  CASE NO. 5:25-CV-00951-PCP
11
                                      Plaintiff,                JUDGE: Hon. P. Casey Pitts
12
                                                                MAGISTRATE JUDGE: Hon. Susan van Keulen
                               v.
13
                                                                DECLARATION OF MICHAEL J. FREEMAN
14   HEWLETT PACKARD ENTERPRISE CO.
                                                                IN SUPPORT OF PLAINTIFF’S OPPOSITION
     and JUNIPER NETWORKS, INC.
                                                                TO DEFENDANTS’ MOTION REGARDING
15                                                              TRIAL LOGISTICS
                                     Defendants.
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           DECLARATION OF M ICHAEL J. FREEMAN ISO P LAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION REGARDING TRIAL LOGISTICS
                                                     CASE NO. 5:25-CV-00951-PCP
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 1          I, Michael J. Freeman, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

 2          1.       I am over 18 years of age, of sound mind, and otherwise competent to make this

 3   Declaration. The evidence set forth in this Declaration is based on my personal knowledge.

 4          2.       I am an attorney with the United States Department of Justice, Antitrust Division. I

 5   represent the United States, Plaintiff in the above-captioned Action.

 6          3.       I submit this Declaration in support of the United States’ Opposition to Defendants’

 7   Motion Regarding Trial Logistics, ECF No. 126.

 8          4.       On January 30, 2025, the United States filed a Complaint against Hewlett Packard

 9   Enterprise Co. and Juniper Networks, Inc. (collectively, “Defendants”), alleging that their proposed

10 merger would substantially increase concentration in the market for enterprise-grade wireless local area

11 networking (“WLAN”) solutions in the United States and substantially lessen competition in violation of

12 Section 7 of the Clayton Act. ECF No. 1.

13          5.       The United States makes the following allegations: First, Defendants are the second- and

14 third-largest providers of enterprise-grade WLAN solutions in the United States. Id. ¶ 1. Second, the

15 WLAN market is highly concentrated and likely to become more so as a result of the merger. Id. ¶ 26.

16 Third, Defendants compete fiercely for customers today and the loss of head-to-head competition

17 between them is likely to reduce discounting and the combined firm’s incentive to invest in new product

18 features. Id. ¶ 44. Fourth, the proposed merger is presumptively unlawful under the Merger Guidelines

19 issued by the Department of Justice and the Federal Trade Commission on December 18, 2023 (“Merger

20 Guidelines”).

21          6.       On February 28, 2025, the Court held a case management conference in during which it

22 set trial dates and addressed other matters raised by the Parties. ECF No. 93. Those matters included

23 the form in which designated deposition testimony would be presented during trial. The Court

24 instructed the Parties to submit deposition designations, rather than play them during trial, so long as the

25 Court could understand them adequately on its own:

26          FREEMAN: [A]ny other guidance you have about your trial routine and protocol would
            be helpful for planning purposes, just in terms of, like, deposition designations, do you like
27          videos played during the trial or submission or things along that line? . . .
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 1          COURT: . . . As a bench trial, I probably don’t need every deposition that you’re putting
            in as a factual matter to be played for me. . . . If there are areas where you think there are
 2          going to be important questions of credibility, then I think it is helpful for me to view that
            video. But if I feel that – I will sort of let you know – I will leave it to you if you think it’s
 3          important to play that and use that time, that you can do so. But if you think that I can
            understand adequately reading the deposition transcript – I’ve read many in my life – then
 4          I’m happy to do that work on my own and use the time in here more productively.

 5   Feb. 28, 2025 Hr’g Tr. 19:08–20:04, ECF No. 98.

 6          7.       On March 6, 2025, the Court entered a Case Management Plan negotiated by the Parties.

 7   ECF No. 103. The Case Management Plan provided for the exchange of each Party’s exhibit list and

 8   deposition designations, along with deadlines for objecting to each. The Case Management Plan has no

 9   provisions requiring deposition designations to be played live in court; limiting in any fashion the

10 number of deposition designation submitted by each Party; or precluding the Parties from admitting into

11 evidence exhibits without a sponsoring witness. Defendants did not negotiate with the United States for

12 those provisions.

13          8.       In March, April, and May 2025, the Parties engaged in extensive fact discovery on an

14 expedited basis. The Parties collectively served nine requests for production of documents and data,

15 over 200 third-party subpoenas, and three rounds of interrogatories. The United States noticed 25

16 depositions of fact witnesses (including two 30(b)(6) depositions) and will take 23 before the start of

17 trial. Defendants noticed 24 depositions and will take 22 by the start of trial. The Parties also served

18 reports from five experts and deposed three experts.

19          9.       On May 28, 2025, the United States sent Defendants a list of discussion topics related to

20 trial logistics for discussion on a previously scheduled call between the Parties. The topics included the

21 length of opening and closing arguments; allocation of trial time; use of a chess clock; bulk admission of

22 exhibits; the exchange of demonstrative exhibits; the length of proposed findings of fact and conclusions

23 of law; and the form and substance of the pre-trial brief. The United States proposed requesting a status

24 conference for June 5, 2025. Defendants suggested instead that the Parties continue discussing trial

25 logistics and, if needed, brief areas of impasse at a later date.

26          10.      On May 29 and June 2, 2025, the Parties exchanged final witness lists. The United States

27 identified nine witnesses who may testify live, nine witnesses who may testify by deposition

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 1   designations, and seven witnesses who may be called either live or by deposition designations.

 2   Defendants identified six witnesses who may testify live, twelve witnesses who may testify by

 3   deposition designations, and seven witnesses who may be called either live or by deposition

 4   designations. On June 2, 2025, the Parties also exchanged exhibit lists and opening deposition

 5   designations. The exchange included designations for any witness who may testify through deposition

 6   designations.

 7          11.      On June 9, 2025, Defendants informed the United States that they intended to file a

 8   motion to resolve the three areas identified in their Motion. In response, the United States identified

 9   areas of agreement between the Parties and amended its proposed trial allocation to 30 hours for the

10 United States and 26 hours for Defendants. Defendants filed their Motion on June 10, 2025. The next

11 day, the Parties exchanged objections to each other’s exhibit lists and opening deposition designations

12 and exchanged counter designations.

13          12.      Attached hereto as Exhibit A is a true and correct copy of the Transcript of Zoom

14 Proceedings Before the Honorable P. Casey Pitts dated February 28, 2025, ECF No. 98, in the above-

15 captioned action.

16          13.      Attached hereto as Exhibit B is a true and correct copy of an excerpt of the Transcript of

17 Proceedings dated September 1, 2023, in United States v. Google LLC, No. 20-cv-03010-APM (D.D.C.).

18          14.      Attached hereto as Exhibit C is a true and correct copy of an excerpt of the Trial

19 Transcript dated September 27, 2023, in United States v. Google LLC, No. 20-cv-03010-APM (D.D.C.).

20          15.      Attached hereto as Exhibit D is a true and correct copy of an excerpt of the Transcript of

21 Proceedings dated April 10, 2025, in United States v. Google LLC, No. 20-cv-03010-APM (D.D.C.).

22          16.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

23 and correct.

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     Executed on: June 16, 2025                                    /s/ Michael J. Freeman
2
                                                                   MICHAEL J. FREEMAN (OH BAR # 0086797)
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                                                                   Antitrust Division
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7                                                                  Attorney for Plaintiff United States of America
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1                                             ATTORNEY ATTESTATION

2            I, Jeremy M. Goldstein, am the ECF user whose identification and password are being used to file

3    the DECLARATION OF MICHAEL J. FREEMAN IN SUPPORT OF PLAINTIFF’S OPPOSITION TO

4    DEFENDANTS’ MOTION REGARDING TRIAL LOGISTICS. In compliance with Local Rule 5-

5    1(i)(3), I hereby attest that all signatories hereto concur in this filing.

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                                                                  /s/ Jeremy M. Goldstein
7                                                                 Jeremy M. Goldstein
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1                                           CERTIFICATE OF SERVICE

2         I certify that on June 16, 2025, I served the foregoing on all counsel of record via ECF.

3

4    Dated: June 16, 2025                                          /s/ Jeremy M. Goldstein
5                                                                  Jeremy M. Goldstein
                                                                   U.S. Department of Justice
6                                                                  Antitrust Division
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